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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No. 17-cv-00017-MEH

MELLISA UMPHENOUR, on her own behalf and on behalf of her minor child,

       Plaintiff,

v.

ALAN R. KITTLEMAN REV TRUST,

       Defendant.


                 ORDER DISMISSING CASE WITH PREJUDICE
______________________________________________________________________________

Michael E. Hegarty, United States Magistrate Judge.

       Before the Court is a Stipulation of Dismissal With Prejudice [filed March 21, 2017; ECF

No. 16]. Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the Court finds the Stipulation and terms of the

dismissal proper. Thus, this case is voluntarily dismissed with prejudice, with each party to bear

her or its own fees and costs. The Clerk of the Court is directed to close this case.

       Dated and entered at Denver, Colorado this 22nd day of March, 2017.

                                               BY THE COURT:




                                               Michael E. Hegarty
                                               United States Magistrate Judge
